    Case 1:16-cv-00013-JMC-RMM Document 140-3 Filed 09/28/18 Page 1 of 1




                                       APPENDIX B

              Index of Exhibits to the Declaration of Rachel V. Stevens


Exhibit      Description
      A      Subpoena served on AT&T, 7/17/2018

      B      Excerpt of AT&T Mobility Print Out

      C      Accurint Search Results

      D      Indian Business Entity Report for Bauer Ventures, LLC

      E      Phenix Investigations Our Team Webpage

      F      Excerpt of Benjamin Alan Ford Accurint Report

      G      Benjamin Ford ACFE Report

      H      Email from Charlie Sly to Deborah Davies and Bob Corn-Revere, 12/24/2015

      I      Email from Ryan Grim to Clayton Swisher, 12/15/2015

      J      Email from Charlie Sly to Bob Corn-Revere and Deborah Davies, 12/26/2015
